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 1                                                         HONORABLE JOHN C. COUGHENOUR

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 3
                                    UNITED STATES DISTRICT COURT
 4                                 WESTERN DISTRICT OF WASHINGTON
 5                                           AT SEATTLE

 6
         UNITED STATES OF AMERICA,                     ) CASE NO. CR15-0120-JCC
 7                                                     )
                      Plaintiff,                       )
 8                                                     ) MINUTE ORDER
                 v.                                    )
 9                                                     )
          DANIEL ALLEN,                                )
10                                                     )
                      Defendant.                       )
11                                                     )
            The following Minute Order is made by direction of the Court, the Honorable John C.
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     Coughenour, United States District Judge:
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            This matter comes before the Court on Defendant Daniel Allen’s unopposed motion to
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     continue trial (Dkt. No. 813). Having reviewed the motion and the relevant record, the Court
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     GRANTS the motion and FINDS that:
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            1.        The ends of justice served by granting this continuance outweigh the best
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     interests of the public and Defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).
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            2.        Proceeding to trial absent adequate time for the defense to prepare would result
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     in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(B)(i).
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            3.        Taking into account the exercise of due diligence, a continuance is necessary to
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     allow Defendant the reasonable time for effective preparation of his defense. 18 U.S.C.
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     § 3161(h)(7)(B)(iv).
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            4.        Defendant has filed a speedy trial waiver consenting to a continuance of his trial
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     to any date up to and including February 28, 2017. (Dkt. No. 813-2 at 1.)
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 1          The jury trial in this case is CONTINUED from Tuesday, September 6, 2016, to

 2   Monday, February 13, 2017. The Court ORDERS that the period of delay from the date of this

 3   order to the new trial date is hereby excluded for speedy trial purposes under 18 U.S.C.

 4   § 3161(h)(7)(A) and (B).

 5          The Court further ORDERS that all pretrial filings—including trial briefs, motions in

 6   limine, proposed voir dire, proposed jury instructions, and proposed verdict forms—shall be

 7   submitted no later than Monday, February 6, 2017. Objections or responses to any pretrial

 8   filings shall be due by Wednesday, February 8, 2017. Regarding the proposed jury instructions,

 9   the parties shall indicate which instructions they agree upon and which instructions are

10   contested, along with the basis for challenging each contested instruction.

11          DATED this 9th day of August 2016.

12                                                          William M. McCool
                                                            Clerk of Court
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14                                                          s/Paula McNabb
                                                            Deputy Clerk
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